Case 2:14-cv-02910-MWF-MRW Document 101 Filed 05/02/17 Page 1 of 10 Page ID #:1801


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES—GENERAL

    Case No. CV-14-2910-MWF (MRWx)                    Date: May 2, 2017
    Title:   In re OSI Systems, Inc. Derivative Litigation

    Present: The Honorable MICHAEL W. FITZGERALD, U.S. District Judge

              Deputy Clerk:                             Court Reporter:
              Rita Sanchez                              Not Reported

              Attorneys Present for Plaintiff:          Attorneys Present for Defendant:
              None Present                              None Present

    Proceedings (In Chambers): ORDER RE PLAINTIFFS’ MOTION FOR FINAL
                               APPROVAL OF SETTLEMENT [94]

           Before the Court is Plaintiffs’ unopposed Motion for Final Approval of
    Settlement, Award of Attorneys’ Fees and Expense, and Approval of Service Awards
    to Plaintiffs, filed on April 10, 2017. (“the Motion,” Docket No. 94). Plaintiffs also
    filed a Reply on April 24, 2017. (Docket No. 98).

           The Court held a hearing on May 1, 2017. For the reasons given below, the
    Motion is GRANTED. The proposed settlement is fair, reasonable, and adequate to
    serve the interests of the shareholders. The Court also grants the request for attorneys’
    fees and the service awards. The attorneys’ fees and litigation expenses sought are also
    reasonable to compensate counsel fairly. In addition, no objections were filed to the
    settlement by the shareholders.

    I.    BACKGROUND

          The Court previously discussed the background to this action in an Order
    preliminarily approving the settlement. (“Preliminary Order”( Docket No. 90)):

           This shareholder derivative action was brought against members of the Board of
    Directors of Defendant OSI System, Inc. The Complaint alleged that the Board and
    several individual Defendants breached their fiduciary duties as directors and/or
    officers by causing OSI to disseminate false and misleading statements to investors and
    the government. Plaintiffs further allege that Defendants failed to implement adequate
    ______________________________________________________________________________
                             CIVIL MINUTES—GENERAL                              1
Case 2:14-cv-02910-MWF-MRW Document 101 Filed 05/02/17 Page 2 of 10 Page ID #:1802


                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES—GENERAL

    Case No. CV-14-2910-MWF (MRWx)                    Date: May 2, 2017
    Title:   In re OSI Systems, Inc. Derivative Litigation

    internal controls, resulting in the above conduct that may have violated federal
    regulations, government contracts, and the fiduciary duty owed to the shareholders.

           OSI produces x-ray security systems used in airports. OSI’s largest customers
    are the Department of Homeland Security and the Transportation Services
    Administration. Plaintiff alleges that, due to the lack of internal controls, OSI failed to
    disclose defects in several of its x-ray systems. As a result, in May 2013 DHS issued a
    Notice of Debarment to OSI. In addition, OSI’s practices also gave rise to a securities
    fraud class action in this Court.

           This action was commenced in 2014 by several Plaintiffs. Beginning in June
    2015, the parties engaged in extensive settlement negotiations and mediation sessions
    before the Honorable Layn R. Phillips, United Stated District Judge (Ret.). Plaintiffs
    further retained Professor Daniel Morrissey, a corporate governance expert, to review
    the allegations and form a set of reforms designed to remedy the alleged breach of
    fiduciary duty. In July 2016, the parties were able to agree to settlement terms.

          As noted above, the Court previously preliminarily approved the settlement.

          A.     Terms of the Settlement

           The settlement requires OSI to update and improve its corporate governance.
    Among other things, OSI must appoint a new independent director with compliance-
    related experience; appoint a lead independent director to the Board; strengthen
    training in corporate governance for all directors and officers; enhance oversight of
    compliance; and amend compensation policies to include compliance as a factor in
    determining compensation. (Motion at 7).

           The settlement calls for incentive payments of $5,000 to named Plaintiffs. (Id.
    at 24). As part of the settlement, Plaintiffs’ counsel would be entitled to seek a Fee and
    Expense Award in an amount up to $1.6 million.


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                             CIVIL MINUTES—GENERAL                              2
Case 2:14-cv-02910-MWF-MRW Document 101 Filed 05/02/17 Page 3 of 10 Page ID #:1803


                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                 CIVIL MINUTES—GENERAL

    Case No. CV-14-2910-MWF (MRWx)                    Date: May 2, 2017
    Title:   In re OSI Systems, Inc. Derivative Litigation

          B.     Notice and Response

           Notice was sent to the shareholders in accordance with the method previously
    approved by the Court. The Notice included information about the nature and history
    of the litigation; the terms of the settlement; the reasons for settling; and the potential
    $1.6 million Fee and Expense Award sought in connection with the settlement by
    Plaintiffs’ counsel. The Notice also set forth the procedure for objecting to the
    settlement, as well as how to contact counsel to obtain more information.

           Regarding the manner of notice, OSI caused the Notice to be published twice in
    the national edition of Investors’ Business Daily, on February 6 and 13, 2017, posted
    the Notice and the settlement terms on OSI’s Investor Relations website, and included
    a statement in the quarterly 10-Q filed with the SEC on February 1, 2017. Plaintiffs’
    counsel also posted the settlement and Notice on their website.

          No shareholders objected to the settlement.

    II.   LEGAL STANDARD
           Before approving the settlement, Rule 23 of the Federal Rules of Civil Procedure
    requires the Court to determine whether the proposed settlement is fair, reasonable, and
    adequate. Fed. R. Civ. P. 23(e)(2). “To determine whether a settlement agreement
    meets these standards, a district court must consider a number of factors, including: [1]
    the strength of plaintiffs’ case; [2] the risk, expense, complexity, and likely duration of
    further litigation; [3] the risk of maintaining class action status throughout the trial; [4]
    the amount offered in settlement; [5] the extent of discovery completed, and the stage
    of the proceedings; [6] the experience and views of counsel; [7] the presence of a
    governmental participant; and [8] the reaction of the class members to the proposed
    settlement.” Staton v. Boeing Co., 327 F.3d 938, 959 (9th Cir. 2003) (internal citation
    and quotation marks omitted) (applying the factors announced in Hanlon v. Chrysler
    Corp., 150 F.3d 1011, 1026 (9th Cir. 1998)).


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                             CIVIL MINUTES—GENERAL                              3
Case 2:14-cv-02910-MWF-MRW Document 101 Filed 05/02/17 Page 4 of 10 Page ID #:1804


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES—GENERAL

    Case No. CV-14-2910-MWF (MRWx)                    Date: May 2, 2017
    Title:   In re OSI Systems, Inc. Derivative Litigation

            “The relative degree of importance to be attached to any particular factor will
    depend upon and be dictated by the nature of the claim(s) advanced, the type(s) of
    relief sought, and the unique facts and circumstances presented by each individual
    case.” Officers for Justice v. Civil Serv. Comm’n, 688 F.2d 615, 625 (9th Cir. 1982).
    “It is the settlement taken as a whole, rather than the individual component parts, that
    must be examined for overall fairness, and the settlement must stand or fall in its
    entirety.” Staton, 327 F.3d at 960 (quoting Hanlon, 150 F.3d at 1026). “The
    involvement of experienced class action counsel and the fact that the settlement
    agreement was reached in arm’s length negotiations, after relevant discovery had taken
    place create a presumption that the agreement is fair.” Linney v. Cellular Alaska
    P’ship, Nos. C–96–3008 DLJ, C–97–0203 DLJ, C–97–0425 DLJ, C–97–0457 DLJ,
    1997 WL 450064, *5 (N.D. Cal. July 18, 1997), aff’d, 151 F.3d 1234, 1234 (9th Cir.
    1998).

          “The principal factor to be considered in determining the fairness of a settlement
    concluding a shareholders' derivative action is the extent of the benefit to be derived
    from the proposed settlement by the corporation, the real party in interest.” In re Atmel
    Corp. Derivative Litig., 2010 WL 9525643, at *12 (N.D. Cal. Mar. 31, 2010) (quoting
    Shlensky v. Dorsey, 574 F.2d 131, 147 (3d Cir.1978)).

           “In addition, the settlement may not be the product of collusion among the
    negotiating parties.” In re Mego Fin. Corp. Sec. Litig., 213 F.3d 454, 458 (9th Cir.
    2000).

    III.   DISCUSSION

           A. Final Approval of Derivative Settlement
           The proposed Settlement is the outcome of an arms-length negotiation
    conducted with the help of Judge Phillips, an experienced mediator. See In re Atmel
    Corp. Derivative Litig., 2010 WL 9525643, at *13 (N.D. Cal. Mar. 31, 2010) (“Judge
    Phillips' participation weighs considerably against any inference of a collusive
    settlement.”). “The assistance of an experienced mediator in the settlement process

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                             CIVIL MINUTES—GENERAL                              4
Case 2:14-cv-02910-MWF-MRW Document 101 Filed 05/02/17 Page 5 of 10 Page ID #:1805


                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES—GENERAL

    Case No. CV-14-2910-MWF (MRWx)                    Date: May 2, 2017
    Title:   In re OSI Systems, Inc. Derivative Litigation

    confirms that the settlement is non-collusive.” Satchell v. Fed. Express Corp., No. C
    03 2878 SI, 2007 WL 1114010, at *4 (N.D. Cal. Apr. 13, 2007). The Court is satisfied
    that the proposed settlement is not the product of collusion between the parties. The
    arms-length nature of the negotiation resulting in the proposed settlement supports
    final approval.

          Furthermore, the Hanlon factors listed above also favor final approval of the
    proposed settlement:

                 1. Strength of Plaintiff’s case and risk, expense, complexity, and
                    likely duration of further litigation

            When assessing the strength of a plaintiff’s case, the district court does not reach
    “any ultimate conclusions regarding the contested issues of fact and law that underlie
    the merits of this litigation.” In re Wash. Pub. Power Supply Sys. Sec. Litig., 720 F.
    Supp. 1379, 1388 (D. Ariz. 1989). The Motion notes the risks Plaintiffs faced if
    litigation were to continue. First, derivative lawsuits are difficult to win under any
    circumstances, as Plaintiffs note. See In re Pacific Enters. Sec. Litig., 47 F.3d 373,
    377–78 (9th Cir.1995) (“Derivative lawsuits are rarely successful . . . .”). In addition,
    here Plaintiffs did not make a pre-suit demand on Defendants, allowing Defendants to
    argue that Plaintiffs had not adequately alleged demand futility. Making the necessary
    showing would have required Plaintiffs to overcome several hurdles to show that a
    majority of the board was either interested or lacked independence, a difficult showing.
    Due to the involvement of the TSA in this case, Plaintiffs would have likely faced
    difficulties in obtaining full discovery under the requirements of Touhy v. Ragen, 340
    U.S. 462 (1951).

           Against all these potential difficulties, a settlement gives Plaintiffs an immediate
    benefit that also benefits Defendants going forward. The settlement eliminates the
    risks discussed above and assures that Plaintiffs do not face the very-real possibility of
    zero recovery after a lengthy suit.


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                             CIVIL MINUTES—GENERAL                              5
Case 2:14-cv-02910-MWF-MRW Document 101 Filed 05/02/17 Page 6 of 10 Page ID #:1806


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                               CIVIL MINUTES—GENERAL

    Case No. CV-14-2910-MWF (MRWx)                    Date: May 2, 2017
    Title:   In re OSI Systems, Inc. Derivative Litigation

                 2. Amount offered in settlement; benefit conferred by settlement
          The Court concludes the settlement is fair under the circumstances, and confers a
    substantial benefit on the corporation and the shareholders. The corporate governance
    measures called for in the settlement will provide a valuable benefit to OSI, a public
    company. Mills v. Elec. Auto-Lite Co., 396 U.S. 375, 395 (1970) (“[A]n increasing
    number of lower courts have acknowledged that a corporation may receive a
    substantial benefit from a derivative suit, justifying an award of counsel fees,
    regardless of whether the benefit is pecuniary in nature.”). The company will be
    forced to appoint a new independent director with compliance-related experience. This
    seventh director will also ensure that the board never deadlocks. The new lead
    independent director will protect the board from being dominated by management or
    one or two directors. Each of the settlement provisions is designed to prevent
    reoccurrence of the wrongdoing alleged in Plaintiffs’ Complaint, as discussed in the
    Motion. (Motion at 9–11). In addition, Professor Daniel Morrissey, an expert on
    corporate governance, has confirmed, in detail, the materiality of these benefits.
    (Opinion of Professor Morrissey (Docket No. 95-3)).

           The Court agrees that the settlement is fair and confers a substantial benefit on
    the corporation and its shareholders. See Sved v. Chadwick, 783 F. Supp. 2d 851, 864
    (N.D. Tex. 2009) (approving derivative litigation settlement because it “offers tangible,
    long-term remedial measures that are specifically designed to avoid the alleged
    missteps in [the company’s] past and protect shareholders as the company moves
    forward”); Mohammed v. Ells, 2014 WL 4212687, at *3 (D. Colo. Aug. 26, 2014)
    (finding settlement fair and adequate where “the corporate governance reforms
    provided for as part of the settlement are specifically and appropriately designed to
    prevent the recurrence of the alleged misconduct that formed the basis for this action”).

                 3. Extent of discovery completed and stage of the proceedings
          This factor requires the Court to evaluate whether “the parties have sufficient
    information to make an informed decision about settlement.” Linney, 151 F.3d at
    1239. The Motion details the extensive investigation performed by Plaintiffs’ counsel
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                             CIVIL MINUTES—GENERAL                              6
Case 2:14-cv-02910-MWF-MRW Document 101 Filed 05/02/17 Page 7 of 10 Page ID #:1807


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES—GENERAL

    Case No. CV-14-2910-MWF (MRWx)                    Date: May 2, 2017
    Title:   In re OSI Systems, Inc. Derivative Litigation

    prior to settling. The parties reviewed hundreds of pages of non-public documents
    relating to the claims; press releases, public statements, and SEC filings; media reports;
    and researched the applicable law. In addition, Plaintiffs’ counsel researched and filed
    multiple complaints alleging derivative claims, conducted damages analyses, and
    participated in informal conferences with Defendants. Finally, the parties participated
    in the settlement and day-long mediation conference. This extensive research shows
    that the lack of formal discovery did not hamper the investigatory effort on Plaintiffs’
    part.

          This factor weighs in favor of approving the settlement.

                 4. Experience and views of Lead Counsel
          Plaintiffs’ counsel have extensive experience in derivative litigation. This
    experience allowed them to thoroughly and accurately evaluate the merit and potential
    payout of the case.

                 6. Reaction of the shareholders to the proposed settlement
           As discussed above, zero objections were received to the settlement, and only
    one member opted out. “It is established that the absence of a large number of
    objections to a proposed class action settlement raises a strong presumption that the
    terms of a proposed class settlement action are favorable to the class members.” Nat’l
    Rural Telecomm’cns Coop. v. DIRECTV, Inc., 221 F.R.D. 523, 528–29 (C.D. Cal.
    2004). After receiving notice of the proposed settlement, the shareholders have been
    almost entirely silent. By any standard, the lack of objection favors final approval.
    See, e.g., Churchill Village LLC v. Gen. Elec., 361 F.3d 566, 577 (9th Cir. 2004)
    (affirming settlement with 45 objections out of 90,000 notices sent).

          Based on the Hanlon factors, the Court concludes that the settlement is
    reasonable, fair, and adequate.



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                             CIVIL MINUTES—GENERAL                              7
Case 2:14-cv-02910-MWF-MRW Document 101 Filed 05/02/17 Page 8 of 10 Page ID #:1808


                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES—GENERAL

    Case No. CV-14-2910-MWF (MRWx)                    Date: May 2, 2017
    Title:   In re OSI Systems, Inc. Derivative Litigation

          B.     Attorney’s Fees and Reimbursement of Litigation Expenses

          The parties submitted the question of attorneys’ fees to Judge Phillips for
    binding resolution. Judge Phillips received written submissions and heard oral
    arguments from the parties. He then determined that Defendants should pay Plaintiffs’
    counsel $1.6 million. Defendants have agreed to this amount and do not oppose the
    award.

           In the Ninth Circuit, there are two primary methods to calculate attorney’s fees:
    the lodestar method and the percentage-of-recovery method. In re Online DVD-Rental
    Antitrust Litig., 779 F.3d 934, 949 (9th Cir. 2015) (citation omitted). “The lodestar
    method requires ‘multiplying the number of hours the prevailing party reasonably
    expended on the litigation (as supported by adequate documentation) by a reasonable
    hourly rate for the region and for the experience of the lawyer.’” Id. (citation omitted).
    Because there was no monetary recovery here, the lodestar method makes the most
    sense. “Courts generally regard the lodestar method, which uses the number of hours
    reasonably expended, as the best approach in cases where the nature of the settlement
    evades the precise evaluation needed for the percentage of recovery method.” Osher v.
    SCA Realty I, Inc., 945 F. Supp. 298, 307 (D.D.C. 1996).

           The parties’ separately-negotiated attorneys’ fees arrangement warrants
    significant deference. See In re Apple Computer, Inc. Derivative Litig., 2008 WL
    4820784, at *3 (N.D. Cal. Nov. 5, 2008) (“Finally, the parties have presented evidence
    that the proposed award of attorneys' fees was negotiated separately from the initial
    $14 million payment. The parties first agreed on a gross settlement of $14 million and
    the implementation of the new corporate governance rules, and only then did they
    allocate the attorneys' fees. A court should refrain from substituting its own value for a
    properly bargained—for agreement.”). “[C]ourts consistently have approved attorneys'
    fees and expenses in shareholder actions where the plaintiffs' efforts resulted in
    significant corporate governance reforms but no monetary relief.” In re Rambus Inc.
    Derivative Litig., 2009 WL 166689, at *3 (N.D. Cal. Jan. 20, 2009).


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                             CIVIL MINUTES—GENERAL                              8
Case 2:14-cv-02910-MWF-MRW Document 101 Filed 05/02/17 Page 9 of 10 Page ID #:1809


                            UNITED STATES DISTRICT COURT
                           CENTRAL DISTRICT OF CALIFORNIA

                                CIVIL MINUTES—GENERAL

    Case No. CV-14-2910-MWF (MRWx)                    Date: May 2, 2017
    Title:   In re OSI Systems, Inc. Derivative Litigation

           As discussed earlier, counsel’s efforts led to significant benefits being conferred
    on both OSI and its shareholders. Counsel undertook great risk in litigating this matter
    on a contingent basis, as there was a substantial chance that no recovery would be had
    at the end of a lengthy suit. The suit was highly complex and required extensive
    investigation and research. Each of these factors weighs in favor of approving the fee
    award. In addition, Plaintiffs’ counsel’s lodestar is in excess of $2.75 million.
    (Motion at 24). Therefore, the reasonableness of the award is confirmed by a lodestar
    cross-check.

          Accordingly, the Court approves the requested attorneys’ fee and expense
    award.

          C.     Incentive Awards

          The Motion also seeks an incentive award of $5,000 for each named Plaintiff to
    be taken from the attorneys’ fee award approved above.

           “[N]amed plaintiffs . . . are eligible for reasonable incentive payments” as part of
    a settlement. Staton v. Boeing, 327 F.3d 938, 977 (9th Cir. 2003). When evaluating the
    reasonableness of an incentive award, courts may consider factors such as “the actions
    the plaintiff has taken to protect the interests of the class, the degree to which the class
    has benefitted from those actions, . . . the amount of time and effort the plaintiff
    expended in pursuing the litigation . . . and reasonabl[e] fear[s of] workplace
    retaliation.” Id. “An incentive payment to come from the attorneys' fees awarded to
    plaintiff's counsel need not be subject to intensive scrutiny, as the interests of the
    corporation, the public, and the defendants are not directly affected.” In re Cendant
    Corp., Derivative Action Litig., 232 F. Supp. 2d 327, 344 (D.N.J. 2002). .

          The named Plaintiffs actively participated in the litigation and willingly
    undertook certain responsibilities and the risk that go along with publicly litigating
    such a suit. These Plaintiffs devoted many hours to the litigation and participated in
    prosecuting the action for more than three years.

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                             CIVIL MINUTES—GENERAL                              9
Case 2:14-cv-02910-MWF-MRW Document 101 Filed 05/02/17 Page 10 of 10 Page ID
                                #:1810

                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES—GENERAL

 Case No. CV-14-2910-MWF (MRWx)                    Date: May 2, 2017
 Title:   In re OSI Systems, Inc. Derivative Litigation

         The Court agrees that a $5,000 incentive award is justified and reasonable in this
 case.

 IV.     CONCLUSION

         The Court GRANTS the Motion for Final Approval.

      The Court awards Plaintiffs’ counsel $1.6 million in costs and fees. The Court
 awards $5,000 to each of the named Plaintiffs.

        Consistent with the Court’s rulings in this Order, a separate Judgment granting
 final approval and awarding attorney’s fees will issue.

         IT IS SO ORDERED.




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                          CIVIL MINUTES—GENERAL                              10
